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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                          Case No.: BK-18-13787-JDL
WILMA JEANNE MORRIS,                                      Chapter 13

       DEBTOR.


  RESPONSE TO MOTION IN LIMINE TO EXCLUDE UNDISCLOSED WITNESSES

       Comes now the secured creditor, QUICKEN LOANS INC., by their attorney, Matthew J.

Hudspeth, and responds to DEBTOR’S MOTION IN LIMINE TO EXCLUDE UNDISCLOSED

WITNESSES (Doc. 24) filed by the Debtor on February 22, 2019:

       1.     Debtor is asking this Court to limit Creditor’s witnesses to only those specifically

              named and timely disclosed based upon the fact that Creditor’s Witness and Exhibit

              List (Doc. 23) filed on February 21, 2019 named “Expert Witness(es) to be

              determined”.

       2.     The reason for listing “Expert Witness(es) to be determined” is precisely as stated:

              counsel for Creditor was still in the process of determining whom would be able to

              testify to the issues presented herein.

       3.     Upon determining whom would be able to testify to the issues presented herein,

              Creditor filed its Amended Witness and Exhibit List (Doc. 26) on February 25, 2019

              and specifically named and provided contact information for its witnesses. The

              delay in amending the witness and exhibit list was due, at least in part, to one of the

              witnesses being located in another state. The filing of the Amended Witness and

              Exhibit List (Doc. 26) on February 25, 2019 was done promptly once the identity

              and contact information was known (see Local Rule 7016-1) and still provides
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               Debtor’s counsel a minimum of two weeks to prepare for these witnesses.

       4.      Local Rule 9014-1, as cited by Debtor’s counsel, states in relevant part that “[u]pon

               review of this notice (the witness an exhibit list), the Court may schedule a pre-

               hearing conference and direct any rules governing adversary proceedings to be

               applied to the matter. … Failure to comply with this Rule may (emphasis added)

               result in exclusion of the evidence or such other sanction as the Court deems

               appropriate in the circumstances.”

       5.      Further, Fed.R.Civ.P. 37(c)(1), made applicable by Fed.R.Bankr.P. 7037 and 9014,

               again as cited by Debtor’s counsel, applies to situations where a party fails to

               provide information or identify a witness. Creditor has provided contact information

               and identified the witnesses in its Amended Witness and Exhibit List (Doc. 26).

       6.      Creditor asserts that the names and contact information of the witnesses were

               disclosed as soon as available; therefore, the failure to specifically name the

               witnesses in the Preliminary Witness and Exhibit List (Doc. 23) was substantially

               justified and harmless.

       7.      As the word “may” indicates above, exclusion is not mandatory, especially in light

               of the facts recited above.

       8.      Further, as indicated above, the Court may schedule a pre-hearing conference.

               Creditor suggests that a pre-hearing conference is appropriate in this instance in light

               of the contested nature of this matter and the issues presented along with the dispute

               over witnesses and evidence.

       WHEREFORE, PREMISES CONSIDERED, QUICKEN LOANS INC. prays this Court

deny the Motion in Limine and allow Creditor’s witnesses as listed in its Amended Witness and

Exhibit List, determine that a pre-hearing conference is appropriate and set a date and time certain
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for such pre-hearing conference; and for such further relief as this Court deems appropriate.



                                                      QUICKEN LOANS INC.

                                      By:         s/ Matthew J. Hudspeth
                                                  MATTHEW J. HUDSPETH - #14613
                                                  JIM TIMBERLAKE - #14945
                                                  Baer Timberlake, P.C.
                                                  4200 Perimeter Center, Suite 100
                                                  Oklahoma City, OK 73102
                                                  Telephone: (405) 842-7722
                                                  Fax: (918) 794-2768
                                                  mhudspeth@baer-timberlake.com
                                                  Attorney for Creditor

                                 CERTIFICATE OF SERVICE

       I hereby certify that I mailed a true and correct copy of the above and foregoing Response
with postage thereon fully prepaid to the parties listed below on February 27, 2019.

Wilma Jeanne Morris
605 S Lakehoma Dr.
Mustang, OK 73064

        The following persons should have received notice of the above and foregoing instrument
on the same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
4600 SE 29th St
Del City, OK 73115
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                           MATTHEW J. HUDSPETH - #14613
                           JIM TIMBERLAKE - #14945
                           Baer Timberlake, P.C.
                           4200 Perimeter Center, Suite 100
                           Oklahoma City, OK 73102
                           Telephone: (405) 842-7722
                           Fax: (918) 794-2768
                           mhudspeth@baer-timberlake.com
                           Attorney for Creditor
